                      ADEMI & O’REILLY, LLP      ATTORNEYS AT LAW

GURI ADEMI
SHPETIM ADEMI                               3620 EAST LAYTON AVENUE                      TELEPHONE: (414) 482-8000
ROBERT K. O’REILLY                          CUDAHY, WISCONSIN 53110                      FACSIMILE: (414) 482-8001
JOHN D. BLYTHIN
MARK A. ELDRIDGE
JESSE FRUCHTER
BEN J. SLATKY




                                                October 2, 2018
      Via ECF

      Hon. David E. Jones
      United States District Court
      517 East Wisconsin Avenue
      Milwaukee, WI 53202


              Re:    Olszewski v. Midwest Receivable Solutions LLC
                     Case No. 18-cv-00968-DEJ

      Dear Judge Jones:

              All parties in this action have reached a resolution of this action in principle. The parties
      are in the process of drafting and exchanging documents. The parties expect that a stipulation or
      unopposed motion of voluntary dismissal will be submitted to the Court shortly, and within 45
      days. In the interim, the parties have agreed that Defendant does not need to file a responsive
      pleading.

              As such, Plaintiff respectfully requests that the Court not take any further action on this
      case. Plaintiff also suggests that the Court close this case administratively until a stipulation or
      unopposed motion of dismissal with prejudice is filed.


                                                             Very truly yours,
                                                             ADEMI & O’REILLY, LLP


                                                             /s/ Mark A. Eldridge
                                                             Mark A. Eldridge


      CC (via ECF): Nicole M. Strickler, attorney for Defendant




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